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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA,
  Plaintiff,

 v.
                                                       CIVIL NO. 23-1392 (MDM)
 2018 BUGATTI CHIRON
 (VIN#VF9SP3V34JM795083),
   Defendants,

 and

 KEVIN THOBIAS & GOLDEN EXOTICS LLC,
  Claimants.

                                              MINUTE
       On September 5, 2024, at 9:00AM, the case was called for a Third Settlement Conference
in the virtual chambers of U.S. Magistrate Judge Marshal D. Morgan. AUSA Myriam Y.
Fernández-González appeared on behalf of the plaintiff and Berwin Cohen, Jonathan Edderai
and Natalia Eugenia Del Nido-Rodríguez appeared on behalf of the in-rem defendant and the
claimants.
       AUSA Fernández informed that the agencies in charge of this forfeiture action still have
not made a final decision regarding settlement in this case. They have however recognized that
what plaintiff is suggesting is in the nature of a constructive seizure. A constructive seizure is a
type of seizure that occurs when law enforcement officers take control of property that is not
physically present but is still considered to be under the control of the owner. This type of seizure
is based on legal authority rather than physical control. Through a constructive seizure, the
claimant could be permitted to maintain and use the asset but that the government would be able
to impose certain conditions like, for example, not removing it from the country, not selling it,
and not secreting it away during the pendency of the forfeiture action, among others.
        Encouraged by the discussion, the Court indicated that it would like to exhaust the
possibility of settlement before plowing chest deep into discovery and motions to dismiss. In that
vein, the Court ORDERED the government to provide the defendants with a list of conditions
that it would like to see as part of a constructive seizure agreement for the asset in this case. Such
list of conditions shall be provided to the defendants by on or before Monday, September 16,
2024. The defendants can feel free to respond to the proposed list of conditions, if necessary. Then,
on September 25, 2024, the Court will hold a fourth settlement conference, during which the
parties will discuss settlement together with the assistance of the Court. The government was
ORDERED to have a representative present during the next settlement conference who has the
ability to approve any settlement agreement or proposed constructive seizure agreement.
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       The government was also ORDERED to provide by Monday, September 16, 2024, any
maintenance records for the Bugatti Chiron that is the subject of this forfeiture proceeding.
       The Court hereby sets a Fourth Settlement and Scheduling Conference for
Wednesday, September 25, 2024, at 9:00AM in the virtual chambers of U.S. Magistrate
Judge Marshal D. Morgan. The government shall have a representative present during
the next video conference who can approve any settlement agreement or proposed
constructive seizure agreement.
       In San Juan, Puerto Rico, this 5th day of September 2024.

                                                                s/Marshal D. Morgan
                                                                MARSHAL D. MORGAN
                                                                United States Magistrate Judge




Conference began at 9:02AM
Conference ended at 10:10AM
